        Case 1:21-cv-00008-LY Document 1-2 Filed 01/05/21 Page 1 of 24

                                                                                12/2/2020 4:38 PM
                                                                                                 Velva L. Price
                                                                                                District Clerk
                                                                                                Travis County
                                  CAUSE NO. D-1-G N-20-007291                                D-1-GN-20-007291
                                                                                            Victoria Benavides
  TERESA MADELL ACKER                                              IN THE DISTRICT COURT
   Plaintiff,
                                                               261ST
  v.                                                                     JUDICIAL DISTRICT

  PROSPECT AIRPORT
  SERVICES, INC.
    Defendant.                                                     TRAVIS COUNTY, TEXAS


          PLAINTIFF'S ORIGINAL PETITION & REQUESTS FOR DISCLOSURE


TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, TERESA MADELL ACKER, hereinafter called "Plaintiff,"

complaining of PROSPECT AIRPORT SERVICES, INC., hereinafter called "Defendant"

and for cause of action would respectfully show the Court the following:

                                               I.
                                    DISCOVERY CONTROL PLAN

1.0     Plaintiff desires that discovery be conducted under Discovery Level 3 pursuant to Tex. R.

Civ. P. 190.4. Plaintiff will attempt to enter into an agreed discovery control plan with

Defendant. However, failing an agreement on the issues, Plaintiff requests that the Court enter an

appropriate discovery control plan tailored to the specific facts and circumstances of this lawsuit.

                                             II.
                                STATUS OF PARTIES AND SERVICE


2.0     Plaintiff, TERESA MADELL ACKER, is an individual who resided in Williamson

County, Texas at the time of the subject incident. The last three numbers of Plaintiff's driver's

license number are 416. The last three numbers of Plaintiff's social security number are 394.



Madell Acker, Teresa v. Prospect Airport Services, Inc.
Plaintiff's Original Petition and RFD
Page 1 of 8



                                               EXHIBIT 1
        Case 1:21-cv-00008-LY Document 1-2 Filed 01/05/21 Page 2 of 24




2.1     Defendant PROSPECT AIRPORT SERVICES, INC., is a foreign Corporation doing

business in Texas. Service of process upon this Defendant may be accomplished by service upon

its registered agent, Corporation Service Company d/b/a CSC-Lawyers Incorporating Service

Compan, at its registered address for service of process 211 E. 7th Street, Suite 620

Austin, TX 78701-3218, or wherever service may be accomplished.

Issuance of citation is requested at this time.

                                               III.
                                     JURISDICTION AND VENUE

3.00    Jurisdiction and Venue are proper in Travis County, Texas, pursuant to Texas Civil

Practices and Remedies Code §15.002 (a)(1), in that Travis County is the county in which all or a

substantial part of the events or omissions giving rise to the claim occurred.

3.01    This Court has jurisdiction over this cause of action because Plaintiffs damages are in

excess of the minimum jurisdictional limits of this Court and all conditions precedent have been

performed or have occurred.

3.01      Pursuant to RULE 47 of the TEXAS RULES OF CIVIL PROCEDURE, Plaintiffs are

required to state the amount of damages they seek through this lawsuit. This exercise is largely

arbitrary as the Plaintiff defers to the jury to determine the amount of damages incurred as a result

of the incident in question, and discovery is yet to be conducted. Nonetheless, Plaintiff affirmatively

states that she seeks monetary relief in accordance with Tex. R. Civ. P. 47(c)(5), including damages

of any kind, penalties, costs, expenses, pre judgment interest, and attorney fees, and a demand for

judgment for all the other relief to which Plaintiffs is justly entitled at the time of filing this suit,

which, with the passage of time, may change.

3.02    No federal question exists and complete diversity of citizenship fails to exist.




Madell Acker, Teresa v. Prospect Airport Services, Inc.
Plaintiff's Original Petition and RFD
Page 2 of 8



                                               EXHIBIT 1
        Case 1:21-cv-00008-LY Document 1-2 Filed 01/05/21 Page 3 of 24




                                                     IV.
                                                    FACTS

4.00    On March 8, 2019, Plaintiff TERESA MADELL ACKER was a business invitee at

Austin Bergstrom Airport, in Travis County, Texas, as she arrived in Austin Texas on her

Southwest flight from Atlanta.

4.01    On that date, Plaintiff TERESA MADELL ACKER was exiting from her flight on

Southwest Airlines at Austin Bergstrom Airport, in Travis County, Texas. At the same date and

time, and upon information and belief, an employee of Defendant, PROSPECT AIRPORT

SERVICES, INC., was pushing a wheelchair to pick up another passenger when the employee

of PROSPECT AIRPORT SERVICES, INC., suddenly and unexpectedly ran into Plaintiff

TERESA MADELL ACKER'S leg, causing her to lose balance and control and fall forward.

As a result of the incident, Plaintiff suffered severe injuries including fracturing her shoulder,

tearing her right rotator cuff, injuring her right side, right rib cage, her right hip, her head and

nose.

4.02    Defendant's negligence proximately caused Plaintiffs injuries and damages.

                                  V.
        NEGLIGENCE OF DEFENDANT PROSPECT AIRPORT SERVICES, INC.
5.00    Defendant PROSPECT AIRPORT SERVICES, INC., by and through its employees,

engaged in negligent activities. Specifically, Defendant's employee should have taken ordinary

care to avoid the harm that came to Plaintiff. Moreover, the employees working at the airport

should not have suddenly and unexpectecdly moved the wheel chair pushing and hitting past

Plaintiff while she was exiting her flight. Quickly pushing and hitting past an individual as they

were walking in the mentioned area was a negligent activity on behalf of the employee and the

Defendant.



Madell Acker, Teresa v. Prospect Airport Services, Inc.
Plaintiff's Original Petition and RFD
Page 3 of 8



                                               EXHIBIT 1
        Case 1:21-cv-00008-LY Document 1-2 Filed 01/05/21 Page 4 of 24




5.01    Each and all of the above stated acts and/or omissions, taken together or individually,

constitute negligence and the same are a direct and proximate cause of the injuries and damages

sustained by Plaintiff.

                                               VI.
                                       RESPONDEAT SUPERIOR


6.00      At all relevant times herein, all of the agents, servants, or employees of Defendant, who

were in any way connected to this suit were acting within the course and scope of their employment

or official duties and in furtherance of the duties of their office or employment. Therefore, the acts

or omissions of those agents, servants, or employees are attributable to Defendant, who is liable for

all damages suffered by Plaintiff under the doctrine of respondeat superior.




                               VII.
   GROSS NEGLIGENCE OF DEFENDANT PROSPECT AIRPORT SERVICES, INC.


7.00    Plaintiff would further show that Defendant PROSPECT AIRPORT SERVICES, INC.,

by and through its employees were grossly negligent in causing the incident in question, which

resulted in Plaintiff's injuries and damages. Defendant's employee(s) evidenced conscious

indifference to the rights, safety and welfare of others in the manner that the worksite was

maintained by persons who either lacked experience and were negligent to learn the proper way to

do so, or who had the proper knowledge, but did not utilize the training they had received.

7.01    The acts and/or omissions of Defendant PROSPECT AIRPORT SERVICES, INC.is of

such a character to rise to the level of gross negligence. Furthermore, Plaintiff would show that

the acts and/or omissions of Defendant PROSPECT AIRPORT SERVICES, INC.was carried

out with a conscious disregard for an extreme danger of risk and the rights of others and with

Madell Acker, Teresa v. Prospect Airport Services, Inc.
Plaintiff's Original Petition and RFD
Page 4 of 8



                                               EXHIBIT 1
        Case 1:21-cv-00008-LY Document 1-2 Filed 01/05/21 Page 5 of 24




actual awareness on the part of Defendant PROSPECT AIRPORT SERVICES, INC.that its

acts would, in reasonable probability, result in serious personal injury or death. Defendant

PROSPECT AIRPORT SERVICES, INC., engaged in acts or omissions that, when viewed

objectively from the standpoint of Defendant PROSPECT AIRPORT SERVICES, INC.at the

time of the occurrence, involved an extreme degree of risk, considering the probability and

magnitude of the potential harm and/or death to others, including Plaintiff.


                                                    VIII.
                                                  DAMAGES
8.00    As a direct and proximate result of Defendant acts and/or omissions and the negligent

conduct of Defendant, Plaintiff suffered bodily injuries as reflected in the medical records from

the health care providers that have treated the injuries since the incident. The injuries are likely

to be permanent in nature. The injuries have had an effect on Plaintiff's health and well-being.

As a further result of the nature and consequences of these injuries, Plaintiff has suffered and

will likely continue to suffer physical pain and mental anguish in the future.

8.01    As a further result of all of the above, Plaintiff has incurred expenses for medical care

and attention in the past and is likely to incur medical expenses in the future to treat these

injuries.

8.02    Plaintiff respectfully requests that the trier of fact determine the amount of damages and

losses for:

                          a.   Pain and suffering in the past;
                          b.   Pain and suffering in the future;
                          c.   Mental anguish in the past;
                          d.   Mental anguish in the future;
                          e.   Past medical expenses;
                          f.   Future medical expenses;
                          g.   Physical impairment in the past;
                          h.   Physical impairment in the future;
                          i.   Loss of earnings in the past; and
                          j.   Loss of earning capacity in the future.
Madell Acker, Teresa v. Prospect Airport Services, Inc.
Plaintiff's Original Petition and RFD
Page 5 of 8



                                                EXHIBIT 1
        Case 1:21-cv-00008-LY Document 1-2 Filed 01/05/21 Page 6 of 24




8.03     Pursuant to RULE 47 of the TEXAS RULES OF CIVIL PROCEDURE, Plaintiff has been injured

and damaged in an amount that is within the jurisdictional limits of this Court, for which she now

pleads, including damages of any kind, penalties, costs, expenses, pre judgment interest, and

attorney fees, and a demand for judgment for all the other relief to which Plaintiff is justly

entitled at the time of filing this suit, which, with the passage of time, may change.



                                                     IX.
                                                  INTEREST

9.00    Plaintiff further requests both pre judgment and post-judgment interest on all damages as

allowed by law.

                                           X.
                           DESIGNATED E-SERVICE EMAIL ADDRESS

10.00 The following is the undersigned attorney's designated E-Service email address for all e-

served documents and notices, filed and unified, pursuant to Tex. R. Civ. P. 21(f)(2) & 21a:

yurbinna                        This is the undersigned's only E-Service email address, and service

through any other email address will be considered invalid.

                                          XI.
                         REQUEST FOR DISCLOSURE TO DEFENDANT

11.00 Plaintiff requests that Defendant disclose the information contained in Tex. R. Civ. P.
194.2(a) through (1) within 50 days of the date this matter is served upon them.

                                            XII.
                               NOTICE OF SELF-AUTHENTICATION

12.00 Pursuant to RULE 193.7 of the TEXAS RULES OF CIVIL PROCEDURE, Defendant is

hereby noticed that the production of any document or things in response to Plaintiff's written

discovery authenticates the document for use against Defendant in any pretrial proceeding or at trial.

                                                      XIII.

Madell Acker, Teresa v. Prospect Airport Services, Inc.
Plaintiff's Original Petition and RFD
Page 6 of 8


                                               EXHIBIT 1
        Case 1:21-cv-00008-LY Document 1-2 Filed 01/05/21 Page 7 of 24




                    ADDITIONAL DISCOVERY SERVED WITH PETITION

13.00 Plaintiff's First Set of Interrogatories, Requests for Production, and Requests for

Admission are attached hereto and served with this Petition.


                                                   PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that Defendants be

cited to appear and answer, and on final trial hereafter, Plaintiff have judgment against

Defendants in an amount within the jurisdictional limits of this Court, together with all pre-

judgment and post-judgment interest as allowed by law, costs of Court, for compensatory and

exemplary damages, and for such other and further relief, in law and in equity, to which Plaintiff

may be justly entitled.



                                                          Respectfully Submitted,


                                                          /s/Yurbin E. Velasquez
                                                          DC LAW, PLLC
                                                          Yurbin E. Velasquez
                                                          SBN: 24063741
                                                          yurbin@texasjustice.com
                                                          1012 W. Anderson Ln.
                                                          Austin, Texas 78757
                                                          T: (512) 220-1800
                                                          F: (512) 220-1801
                                                          Attorney for Plaintiff




Madell Acker, Teresa v. Prospect Airport Services, Inc.
Plaintiff's Original Petition and RFD
Page 7 of 8



                                               EXHIBIT 1
        Case 1:21-cv-00008-LY Document 1-2 Filed 01/05/21 Page 8 of 24




                 WRITTEN DISCOVERY FOR DEFENDANT IS ATTACHED
                          HERETO AS EXHIBIT `A' AND `B'




Made11 Acker, Teresa v. Prospect Airport Services, Inc.
Plaintiff's Original Petition and RFD
Page 8 of 8



                                               EXHIBIT 1
         Case 1:21-cv-00008-LY Document 1-2 Filed 01/05/21 Page 9 of 24




                                        EXHBIT "A"
                          Discovery Request for Defendant
                       PROSPECT AIRPORT SERVICES, INC.




Ackers vs. Prospect Airport Services, Inc.
ROGS, and RFPs to Defendant
Page 1 of 16

                                             EXHIBIT 1
        Case 1:21-cv-00008-LY Document 1-2 Filed 01/05/21 Page 10 of 24




                            PLAINTIFF'S FIRST SET OF INTERROGATORIES
                               TO PROSPECT AIRPORT SERVICES, INC.

         Plaintiff, TERESA MADELL ACKER, serves these, her First Set of Interrogatories upon

Defendant PROSPECT AIRPORT SERVICES, INC., pursuant to TEX. R. Civ.197. Defendant

must serve a written response to the requesting party no later than fifty (50) days after the date

these interrogatories are served upon Defendant. See TEx. R. Civ. P. 197.2(a). Defendant is further

requested to supplement all answers to this First Set of Interrogatories as required by the TEXAS

RULES OF CIVIL PROCEDURE.

                                      PRELIMINARY STATEMENT

       1. The following interrogatories are to be answered separately and fully, by furnishing all
information in your possession, custody or control, including all information to which you have a
superior right to compel from a third party, such as your agent, authority, or representative.

       2. You are to answer the interrogatories under oath. Your attorney in this case is not
allowed to sign or swear to the answers you have made to the interrogatories.

        3. You and your attorney are under a duty to supplement your answers to these
interrogatories by amending your answers if you obtain information upon the basis of which you
know that the answer was incorrect when made or you know that the answer is no longer true, even
though it was correct when made.

        4. Whenever an interrogatory requests the identification of a document or documents,
please set forth where the document exists, the name and address of its custodian, a description of
its contents, including its author, date, and addresses, the number of pages it contains, and all
attachments to the original document.

       5. If the answer to any interrogatory may be derived or ascertained from your business
records, and the burden of deriving the answer would be substantially the same for Plaintiff and
you, you may specify the records from which the answer may be obtained.

                                        TABLE OF DEFINITIONS

         Plaintiff sets forth the following definitions or abbreviations of various words and phrases
that are contained in the Interrogatories. Plaintiff provides the following definitions and
abbreviations for the purpose of clarifying the meaning of various words and phrases contained
herein in order to expedite discovery, i.e., (1) to help the Defendant fully and accurately understand
the objectives of Plaintiff's discovery efforts and (2) to simplify and assist the Plaintiff in her
efforts to locate and furnish the relevant information and documents. It is expressly stipulated and
agreed by the Plaintiff that an affirmative response on the part of the Defendants will not be

Ackers vs. Prospect Airport Services, Inc.
ROGS, and RFPs to Defendant
Page 2 of 16

                                             EXHIBIT 1
        Case 1:21-cv-00008-LY Document 1-2 Filed 01/05/21 Page 11 of 24




 construed as an admission that any definition or abbreviation contained hereto is either factually
 correct or legally binding on the Defendants.

       A. "YOU," "YOUR," OR "DEFENDANT" means and refers to the named Defendant
responding to the interrogatory, as well as its attorneys, agents, employees, and all other natural
persons or business or legal entities acting, or purporting to act, for or on your behalf whether
authorized to do so or not.

         B. MULTIPLE PART ANSWERS: Where an individual interrogatory calls for an answer
which involves more than one part or subpart, each part of the answer should be set forth separately
so that it is clearly understandable and responsive to the respective interrogatory or subpart thereof.

        C. WRITING OR WRITTEN: The term "writing" or "written" are intended to include,
but not necessarily be limited to the following: hand-writing, type-writing, computer printouts,
printing, photograph, and every other means of recording upon any tangible thing or any form of
communication, including letters, words, pictures, sounds or symbols or combinations thereof; and
they further include any oral communication later reduced to writing or confirmed by a letter.

       D. DOCUMENT(S): The term "documents" shall mean writings of every type and from
any source, including originals and non-identical copies thereof, that are in your possession,
custody, or control or known by you to exist. This would include documents sent outside your
organization to any source as well as documents intended for internal use.

        The term also includes communications not only in words, but also in symbols, pictures,
sound recordings, film, tapes and information stored in, or accessible through, computer or other
information storage or retrieval systems. If the information is kept in a computer or informational
retrieval system, the term also includes codes and programming instructions and other materials
necessary to understand such systems.

        The term includes, but is not limited to: calendars, checkbooks, agenda, agreements,
analyses, bills, invoices, records of obligations and expenditures, corporate bylaws and charters,
correspondence, diaries, files, legal documents, financial documents including balance sheets and
profit and loss statements, letters, memorandum recording telephone or in-person conferences,
manuals, books, press releases, purchase orders, records, schedules, memos of interviews,
evaluations, written reports of tests or experiments, public relations releases, telegrams, teletypes,
work papers, drafts of documents, and all other writings whose contents relate to the subject matter
of the discovery request.

        E. PERSON: "Person" as used herein means an individual, corporation, partnership,
association, trust, governmental entity, and any otherwise described entity.

        F. PERSON(S) IDENTITY: When an interrogatory request that you identify a person
please state:




Ackers vs. Prospect Airport Services, Inc.
ROGS, and RFPs to Defendant
Page 3 of 16

                                             EXHIBIT 1
        Case 1:21-cv-00008-LY Document 1-2 Filed 01/05/21 Page 12 of 24




                  1.       His or her full name;
                  2.       His or her present or last known address;
                  3.       His or her present employers name and address; and
                  4.       His or her occupational position or classification.

          G. "IDENTIFY" or "IDENTIFICATION":
                1.   As to a person: When used in reference to a person or individual, the terms
                     "identify" or "identification" mean to state his/her full name, address, and
                     telephone number.
                2.   As to an entity: The terms "identify" or "identification" when used in
                     reference to an entity such as a corporation, partnership or association, mean
                     to state the name of the entity, its business address, telephone number, and
                     name of its chief executive officer and the agent for service of process.
                3.   As to a document: When used in reference to a document, the terms
                     "identify" or "identification" shall include the following:
                              a.     The title, heading or caption of such document.
                              b.     The date appearing on such document; or if no date appears,
                                     the approximate date on which the document was prepared.
                              c.     A general description of the document.
                              d.     The name of the person who signed the document or
                                     statement that it was unsigned.
                              e.     Name of the person or persons who prepared the document.
                              f.     Name of the person or persons to whom the document was
                                     addressed and to whom the document was sent.
                              g.     The  physical location of the document.
                4.   As to a statement: When used in reference to a statement, the terms
                     "identify" or "identification" shall include who made the statement, who
                     took or recorded it, and all others, if any, present during the making thereof;
                     to state when, where and how it was taken or recorded, and to identify who
                     was present or last known possession, custody or control thereof
                5.   To any other tangible thing: When used in reference to any other tangible
                     thing, the terms "identify" or "identification" mean to give a reasonably
                     detailed description thereof, including, if applicable, when, where, and how
                     it was made; to identify who made it; and to identify who has present or last
                     known possession, custody or control thereof.

        H. INCIDENT IN QUESTION: The term "incident" or "incident in question" or similar
reference as used herein refers to the incident or incident in Question described in the Plaintiff's
Original Petition, unless otherwise defined herein, and which forms the subject matter in this suit.

        I. "LOCATION IN QUESTION" refers to the AUSTIN BERGSTROM AIRPORT, in
Travis County, Texas.

       J. "STATEMENTS" includes any written or graphic statement signed or otherwise
adopted or approved by the person making it and any stenographic, mechanical, electrical, or other




Ackers vs. Prospect Airport Services, Inc.
ROGS, and RFPs to Defendant
Page 4 of 16

                                             EXHIBIT 1
         Case 1:21-cv-00008-LY Document 1-2 Filed 01/05/21 Page 13 of 24




 recordings, or a transcription thereof, which is a substantially verbatim recital of an oral statement
 by the person making it and contemporaneously recorded.


                                              INTERROGATORIES

1.      Please state the full name, address, job title and employer of each person answering and
        assisting in answering these Interrogatories.

ANSWER:

2.      State the name and address of the person or entity who owned, was in possession or
        exclusive possession and/or control of that area of the premises in where the incident in
        question occurred at the time of the incident.

ANSWER:

3.      Please identify all experts who may be called as a witness in this case or whose work product
        formed the basis, either in whole or part, of the opinions of any experts who may be called as
        a witness. With respect to each such expert, specify the following:

        a. The subject matter upon which the witness is expected to testify including his/her
           impressions and opinions;
        b. All facts know to the expert which relate or form the basis of the expert's mental
           impressions or opinions; and
        c. All documents, communications, and other tangible things used by, prepared by,
           prepared for, or furnished to an expert in anticipation of the expert's trial or deposition
           testimony, including all tests and calculations done by the expert or reviewed by
           him/her, whether or not such tests or calculations form the basis of his/her opinion.

ANSWER:

4.      Describe and identify any insurance agreement under which any insurance business may be
        liable to satisfy part or all of the judgment which may be entered in this action, or to
        indemnify or reimburse for payments made to satisfy the judgment, by stating the name of
        the entity insured, the name of the insurer, and the amount of any liability insurance
        coverage.

ANSWER:

5.      If you, or anyone acting on your behalf, know of any oral, written or recorded admission of
        any type by the Plaintiff pertaining to this suit, please identify the nature of each admission,
        the content of each admission, whether it was oral, written or recorded, the circumstances
        under which each was made, the name, address and telephone number of each person who
        was present when each was made, the date and location of each admission, and who has
        possession of each written or recorded admission.

        ANSWER:

 Ackers vs. Prospect Airport Services, Inc.
 ROGS, and RFPs to Defendant
 Page 5 of 16

                                                EXHIBIT 1
         Case 1:21-cv-00008-LY Document 1-2 Filed 01/05/21 Page 14 of 24




6.      Prior to the present case, please state the name and address of each person who has ever sued
        you or has ever written or caused another to write any letter threatening to sue you for
        incidents or events occurring at located at AUSTIN BERGSTROM AIRPORT, in Travis
        County, Texas.. Please note that this interrogatory is limited to five (5) years prior to this
        accident.

        ANSWER:

7.      Prior to the present case, please state the name and address of each person who has ever sued
        you or has ever written or caused another to write any letter threatening to sue you for
        incidents or events involving all your locations in the state of Texas for the time period of
        five (5) years prior to this incident in which someone was injured while at the location in
        question.

        ANSWER:

8.      Please describe in detail any previous or subsequent incidents in the last ten (10) years of
        which Defendant is aware which occurred in substantially the same way as the Plaintiffs
        incident or in the same or nearby location.

        ANSWER:

9.      Please describe in detail any changes made by the Defendant, employees, or agents, before
        and after the occurrence in question. If the Defendant corrected the training of its employees,
        please state the date this correction was made.

        ANSWER:

10.     If Defendant, Defendant's corporate representative, employee or agent has given a statement
        to anyone other than Defendant's attorney with respect to the occurrence in question, please
        state the name, address and telephone number of the person to whom such statement was
        given, the date on which the statement was given, the substance of such statement and
        whether such statement was a written or an oral statement.

        ANSWER:

11.     Was it a regular course of business of the Defendant to conduct a post-incident investigation
        into an incident of this sort or to complete an incident report, whether or not litigation was
        anticipated? If so, state whether an investigation was conducted, the dates, full descriptions
        of the investigation(s), who conducted the investigations or completed the incident report,
        the findings or conclusions of the investigations, and where such investigative or incident
        reports are now located. If you are claiming privilege as to any investigation based on its
        allegedly being done in anticipation of litigation, describe specifically what you are relying
        on to establish that you had reason to believe that litigation would ensue, including what
        overt acts or statements were made by Plaintiff or someone acting on behalf of the Plaintiff.

        ANSWER:

12.     Do you contend that the Plaintiff has done anything or failed to do anything that constitutes a
 Ackers vs. Prospect Airport Services, Inc.
 ROGS, and RFPs to Defendant
 Page 6 of 16

                                              EXHIBIT 1
        Case 1:21-cv-00008-LY Document 1-2 Filed 01/05/21 Page 15 of 24




        failure to mitigate damages? If so, please describe the basis of your contention and what
       evidence exists to support same.

       ANSWER:

13.    If you have alleged that someone else's conduct or some other condition, disease, injury or
       event was the "sole proximate cause" of the incident in question, describe in detail the
       identity of such other person, event or condition, be it pre-existing or subsequent disease or
       injury.

       ANSWER:

14.    What is Defendant's contention as to the Plaintiffs legal status on the premises at the time of
       the occurrence in question, that is whether Plaintiff was a business invitee, licensee or
       trespasser? If you contend that Plaintiff was not a business invitee at the time of the
       occurrence in question, please state and describe each fact, document or thing on which you
       base such a contention.

       ANSWER:


15.    State the name, address, and telephone number of all persons who were responsible for
       managing the location in question on the date of the subject incident.

       ANSWER:

16.    Please state the name, address and telephone number of each employee and/or agent on duty
       at the location in question, at the time of the incident made the basis of this lawsuit. Further
       identify which employees were managers, which employees were working, as well as which
       employees no longer for the company. For former employees, please provide their last
       known address and phone number.

       ANSWER:

17.    If the Defendant was not the owner of the premises at the time of the Incident in Question,
       please state:

       a. the nature of Defendant's relationship with the owner of the premises where the
          incident in question occurred;
       b. the correct names and addresses of the owners of the premises in question as of the date
          of the subject incident;
       c. the correct names and addresses of the owners of the premises in question for the
          preceding five (5) years; and
       d. the complete names of all management companies for the premises for the last five (5)
          years.

       ANSWER:

18.    Identify the security camera system in place at the subject location in question on the date of
Ackers vs. Prospect Airport Services, Inc.
ROGS, and RFPs to Defendant
Page 7 of 16

                                             EXHIBIT 1
        Case 1:21-cv-00008-LY Document 1-2 Filed 01/05/21 Page 16 of 24




       the subject incident. Did the cameras record the incident? If so, what happened to the video?

       ANSWER:


19.    Identify all individuals responsible for training employees at the location in question for 6
       months prior to the incident in question.


       ANSWER:




Ackers vs. Prospect Airport Services, Inc.
ROGS, and RFPs to Defendant
Page 8 of 16

                                             EXHIBIT 1
        Case 1:21-cv-00008-LY Document 1-2 Filed 01/05/21 Page 17 of 24




     PLAINTIFFS' FIRST SET OF REQUESTS FOR PRODUCTION TO DEFENDANT
                         PROSPECT AIRPORT SERVICES, INC.,



         Pursuant to Rule 196, TEXAS RULES OF CIVIL PROCEDURE, Plaintiff requests that the

Defendants produce copies of, or permit Plaintiff to inspect, sample, test, photograph, and/or copy

the designated documents, records, or tangible things which are in your possession, custody, or

control, or are available to you, or are in the possession, custody, or control of your agents,

representatives, or attorneys.

         Plaintiff designates the manner of discovery to be by Defendant providing Plaintiffs

attorney with a photocopy or duplicate of each of the designated documents, records, or tangible

things in Defendant's possession, custody, or control, or by making the designated items available

for inspection, sampling, testing, photographing and/or copying at the office of Plaintiff's attorney.

If the requested documents, records, or tangible things cannot readily be copied, produced, and

delivered to Plaintiff's attorneys, or made available for inspection, sampling, testing,

photographing, and/or copying at the office of Plaintiffs attorney, Plaintiff is agreeable to

conducting discovery in the office of Defendant's counsel or Defendant's premises or obtaining

delivery therefrom. Plaintiff will return Defendant's photographs, movies, videotapes, and

tangible unduplicated items to Defendants as requested by Defendants. Plaintiff requests that

Defendants answer fully in writing and under oath each of the following interrogatories within

thirty (30) days after service of this request, or within fifty (50) days after service of the citation

and petition, whichever is later.




Ackers vs. Prospect Airport Services, Inc.
ROGS, and RFPs to Defendant
Page 9 of 16

                                             EXHIBIT 1
          Case 1:21-cv-00008-LY Document 1-2 Filed 01/05/21 Page 18 of 24




                                 DEFINITIONS AND INSTRUCTIONS


     1.       As used herein, the terms "you" and "your" shall refer to the respective Defendant
              answering the requests, his attorneys, agents, insured, and all other natural persons or
              business or legal entities acting or purporting to act for or on behalf of this Defendant,
              whether authorized to do so or not.

     2.       As used herein, the term "documents" shall mean all writings of every kind, source and
              authorship, both originals and all non-identical copies thereof, in your possession,
              custody, or control, or known by you to exist, irrespective of whether the writing is one
              intended for or transmitted internally by you, or intended for or transmitted to any other
              person or entity, including without limitation any government agency, department,
              administrative, or private entity or person. The term shall include handwritten,
              typewritten, printed, photocopied, photographic, or recorded matter. It shall include
              communications in words, symbols, pictures, sound recordings, films, tapes, and
              information stored in, or accessible through, computer or other information storage or
              retrieval systems, together with the codes and/or programming instructions and other
              materials necessary to understand and use such systems. For purposes of illustration
              and not limitation, the term shall include: affidavits; agendas; agreements; analyses;
              announcements; bills, statements, and other records of obligations and expenditures;
              books; brochures; bulletins; calendars; canceled checks, vouchers, receipts and other
              records of payments; charts or drawings; check registers; checkbooks; circulars;
              collateral files and contents; contracts; corporate bylaws; corporate charters;
              correspondence; credit files and contents; deeds of trust; deposit slips; diaries; drafts;
              files; guaranty agreements; instructions; invoices; ledgers, journals, balance sheets,
              profit and loss statements, and other sources of financial data; letters; logs, notes, or
              memoranda of telephonic or face-to-face conversations; manuals; memoranda of all
              kinds, to and from any persons, agencies, or entities; minutes; minute books; notes;
              notices; parts lists; papers; press releases; printed matter (including books, articles,
              speeches, and newspaper clippings); purchase orders; records; records of
              administrative, technical, and financial actions taken or recommended; reports; safety
              deposit boxes and contents and records of entry; schedules; security agreements;
              specifications; statements of bank accounts; statements; interviews; stock transfer
              ledgers; technical and engineering reports, evaluations, advice, recommendations,
              commentaries, conclusions, studies, test plans, manuals, procedures, data, reports,
              results, and conclusions; summaries, notes, and other records and recordings of any
              conferences, meetings, visits, statements, interviews or telephone conversations;
              telegrams; teletypes and other communications sent or received; transcripts of
              testimony; UCC instruments; work papers; and all other writings, the contents of which
              relate to, discuss, consider, or otherwise refer to the subject matter of the particular
              discovery requested.




Ackers vs. Prospect Airport Services, Inc.
ROGS, and RFPs to Defendant
Page 10 of 16

                                             EXHIBIT 1
          Case 1:21-cv-00008-LY Document 1-2 Filed 01/05/21 Page 19 of 24




     3.         In accordance with Tex. R. Civ. P. Rule 192.7, a document is deemed to be in your
                possession, custody or control if you either have physical possession of the item or have
                a right to possession of the item that is equal or superior to the person who has physical
                control of the item.

     4.         "Person": The term "person" shall include individuals, associations, partnerships,
                corporations, and any other type of entity or institution whether formed for business
                purposes or any other purposes.

     5.       "Identify" or "Identification":
          (a)    When used in reference to a person, "identify" or "identification" means to state his
                  or her full name, present or last known residence address, present or last known
                 business address and telephone number.

          (b)      When used in reference to a public or private corporation, governmental entity,
                   partnership or association, "identify" or "identification" means to state its full
                   name, present or last known business address or operating address, the name of its
                   Chief Executive Officer and telephone number.

          (c)      When used in reference to a document, "identify" or "identification" shall include
                   statement of the following:

                   (i)     The title, heading, or caption, if any, of such document;
                   (ii)    The identifying number(s), letter(s), or combination thereof, if any; and the
                           significance or meaning of such number(s), letter(s), or combination
                           thereof, if necessary to an understanding of the document and evaluation of
                           any claim of protection from discovery;
                   (iii)   The date appearing on such document; if no date appears thereon, the
                           answer shall so state and shall give the date or approximate date on which
                           such document was prepared;
                   (iv)    The number of pages and the general nature or description of such document
                           (i.e., whether it is a letter, memorandum, minutes of a meeting, etc.), with
                           sufficient particularity so as to enable such document to be precisely
                           identified;
                   (v)     The name and capacity of the person who signed such document; if it was
                           not signed, the answer shall so state and shall give the name of the person
                           or persons who prepared it;
                   (vi)    The name and capacity of the person to whom such document was
                           addressed and the name and capacity of such person, other than such
                           addressee, to whom such document, or a copy thereof, was sent; and
                   (vii)   The physical location of the document and the name of its custodian or
                           custodians.

     6.         "Settlement": as used herein, means:




Ackers vs. Prospect Airport Services, Inc.
ROGS, and RFPs to Defendant
Page 11 of 16

                                              EXHIBIT 1
         Case 1:21-cv-00008-LY Document 1-2 Filed 01/05/21 Page 20 of 24




          (a)     an oral or written, disclosed or undisclosed agreement, bargain, contract,
                  settlement, partial settlement, limited settlement, arrangement, deal, understanding,
                  loan arrangement, credit arrangement, contingent settlement, limitation on the
                  amount of liability or judgment, or a promise by or between Plaintiff and any
                  Defendants or between any Defendants herein whereby Plaintiff or Defendants
                  have in any way released, compromised, in whole or in part, directly or indirectly,
                  or agreed to do so in the future, any of the matters in controversy in this lawsuit
                  whether before, after or during trial or before or after any jury verdict is returned
                  herein or a judgment is entered or rendered herein.

          (b)     Any resolution of the differences between the Plaintiff and Defendants by loan to
                  the Plaintiff or any other device which is repayable in whole or in part out of any
                  judgment the Plaintiff may recover against Defendants.

          (c)     The term "settlement" shall also include "Mary Carter Agreements" as that term is
                  used under Texas Law.

7.        "The Incident" or "Subject Incident" as used herein refers to the incident made the basis
          of this lawsuit.


                                             USE OF DEFINITIONS

        The use of any particular gender in the plural or singular number of the words defined
under paragraph "1", "Definitions" is intended to include the appropriate gender or number as the
text of any particular request for production of documents may require.

                                                TIME PERIOD

       Unless specifically stated in a request for production of documents, all information herein
requested is for the entire time period from March 8, 2018, through the date of production of
responses requested herein.

                                             REQUEST FOR PRODUCTION

     1. Any and all photographs or other electronic images that contain images of the underlying
        facts.

     2. Any and all photographs, movies, videotapes or other visual reproductions that Defendant
        has of the parties, persons with knowledge of relevant facts, the facilities, mechanisms or
        items involved, or scene of the Incident in Question.

     3. All published documents, treatises, periodicals or pamphlets on the subject of medicine,
        any engineering field, and any other area of scientific study that you claim to be a reliable
        authority which may be used by you at trial.




Ackers vs. Prospect Airport Services, Inc.
ROGS, and RFPs to Defendant
Page 12 of 16

                                                EXHIBIT 1
        Case 1:21-cv-00008-LY Document 1-2 Filed 01/05/21 Page 21 of 24




   4. All published documents, treatises, periodicals or pamphlets on the subject of medicine,
      any engineering field, and any other area of scientific study that any testifying expert
      claims to be a reliable authority which may be used by you at trial.

   5. All published documents, treatises, periodicals or pamphlets on the subject of medicine,
      any engineering field, and any other area of scientific study that any testifying expert has
      relied, or will rely, upon to support their opinions and mental impressions.

   6. All documents, reports, publications, codes and regulations evidencing safety standards,
      laws, regulations, ordinances, or industry standards which you now contend or will contend
      at trial support any defensive theory.

   7. All documents, reports, publications, codes and regulations evidencing safety standards,
      laws, regulations, ordinances, or industry standards that any of your testifying experts have
      relied, or will rely, upon to support their opinions and mental impressions.

   8. All documents, reports, publications, codes and regulations evidencing safety standards,
      laws, regulations, ordinances, or industry standards that any of your testifying experts
      claim to be reliable authority which may be used at the time of trial.

   9. Copies of any and all statements made by Plaintiff concerning the subject matter of this
      lawsuit, including any written statement signed or otherwise adopted or approved by
      Plaintiff and any stenographic, mechanical, electrical or other type of recording or any
      transcription thereof

   10. Any written, taped or mechanically reproduced statement made of Plaintiff.

   11. Any written, taped or mechanically reproduced statement made of any Defendant regarding
       the incident.

   12. Any and all drawings, surveys, plats, maps or sketches of the scene of the Incident in
       Question.

   13. Any document, photographs, or other physical evidence that will be used or offered at trial.

   14. All documents and tangible things (including papers, books, accounts, drawings, graphs,
       charts, photographs, electronic or videotape recordings, data, and data compilations) that
       constitute or contain matters relevant to the subject matter of the action.

   15. The entire claim and investigation file, including but not limited to, statements, reports,
       videotapes, drawings, memoranda, photographs, and documents, regarding the Incident in
       Question generated or obtained by Defendant, Defendant's agents, or Defendant's insurers
       in the ordinary course of business.

   16. The entire claim and investigation file, including but not limited to, statements, reports,
       videotapes, drawings, memoranda, photographs, and documents, regarding the Incident in
       Question generated or obtained by Defendant, Defendant's agents, or Defendant's insurers
       before Plaintiff filed Plaintiff's Original Petition with the court.

Ackers vs. Prospect Airport Services, Inc.
ROGS, and RFPs to Defendant
Page 13 of 16

                                             EXHIBIT 1
        Case 1:21-cv-00008-LY Document 1-2 Filed 01/05/21 Page 22 of 24




   17. A copy of each primary, umbrella, and excess insurance policy or agreement, including the
       declarations page, which was in effect at the time of the Incident in Question including all
       non-waiver agreements, reservation of rights letters, or other documents or
       communications regarding any contractual obligations owed by you.

   18. Any documents, videotapes, recordings, reports, photographs, or other written records
       pertaining to any investigation of the Incident in Question.

   19. All documents regarding all other claims being currently made against Defendant or
       Defendant's insurance policies at the store location in question.

   20. Any and all settlement agreements, deals, contracts, understandings, "Mary Carter"
       agreements, or compromises between you or your representatives and any other party,
       potential party, or potential third party defendant to this suit or its representatives, agents,
       or insurers regarding any compromise, settlement, apportionment of liability or financial
       responsibility, contingent or otherwise, or alignment of the parties on any issue with
       respect to:

       a.       The Incident in Question;
       b.       Plaintiff's damages;
       c.       The presentation of any testimony;
       d.       Whether or how to conduct any cross-examination;
       e.       The performance of discovery; and/or
       f.       The presentation of any defense, excuse, or inferential rebuttal.

   21. Copies of any document or statement that any witness of Defendant will use or you
       anticipate may use to refresh his or her memory, either for deposition or trial.

   22. Any and all documents and tangible things whose production has not been requested
       pursuant to any other item of this request which you intend to offer into evidence at trial.

   23. Any and all documents and tangible things whose production has not been requested
       pursuant to any other item of this request which you do not intend to offer into evidence at
       the trial of this case, but which may be used as demonstrative evidence at trial.

   24. Any information relating to any arrest or conviction to be used for impeachment purposes
       against any party, witness, and/or person with knowledge of relevant facts named in
       discovery information provided by or to you before trial. Please include the name of the
       person convicted, the offense for which he or she was arrested or convicted, the year of
       such arrest or conviction, the court of such conviction, and the disposition of the case or
       allegation.

   25.Any and all calendars, journals, diaries, logs, or notes kept by Defendant covering the month
      of the Incident in Question.

   26. All documents regarding Plaintiff's employment history, status, performance, or
       compensation obtained by Defendant via an authorization signed by Plaintiff, subpoena,
       deposition on written questions, or otherwise.

Ackers vs. Prospect Airport Services, Inc.
ROGS, and RFPs to Defendant
Page 14 of 16

                                             EXHIBIT 1
        Case 1:21-cv-00008-LY Document 1-2 Filed 01/05/21 Page 23 of 24




   27. All documents regarding Plaintiff's medical status, treatment or history obtained by
       Defendant via an authorization signed by Plaintiff, subpoena, deposition on written
       questions, or otherwise.

   28. All documents regarding Plaintiffs financial status, earnings history, and tax payment
       history obtained by Defendant via an authorization signed by Plaintiff, subpoena,
       deposition on written questions, or otherwise.

   29. All documents regarding Plaintiff's claims history obtained by Defendant via an
       authorization signed by Plaintiff, subpoena, deposition on written questions, or otherwise.

   30. All documents, records, reports, notations, or memoranda regarding Plaintiff from persons
       or entities that compile claim information, to include but not limited to, insurance claims,
       unemployment claims, social security claims, and worker's compensation claims.

   31. All statements or documents that show the identity of any witness to the Incident in
       Question, or any person with knowledge of relevant facts concerning the Incident in
       Questions, the events leading up to it, or any damage sustained by Plaintiff

   32. All documents and tangible things which support your contention that:

       a.       Any act or omission on the part of Plaintiff caused or contributed to the Incident in
                Question;
                Any factor, other than a. above, contributed to or was the sole cause of the Incident in
                Question, including but not limited to, acts or omissions of negligence of any other
                party or parties, or potential third-party Defendants, sudden emergency, unavoidable
                Incident, mechanical defect, or act of God;
       c.       Any factor caused or contributed to the Plaintiff's damages, including but not limited
                to, pre-existing or subsequently existing physical or medical condition or conditions
                of Plaintiff;
       d.       Any or all of the medical expenses incurred by Plaintiff for treatment of injuries
                allegedly resulting from the Incident in Question were not reasonable and/or
                necessary; and
       e.       Plaintiff's injuries were not the result of or caused by the Incident in Question.

   33. The architectural plans and drawings for the Premises in Question, specifically with respect
       to the location where the Plaintiff was injured.

   34. Any contracts between the owner and the manager or managing entity at the time of the
       Plaintiff's injury, and for the year immediately preceding the Incident in Question.

   35. Any contract between the owner and any other person or entity responsible for caring for,
       maintaining or cleaning the premises at the time of Plaintiff's injuries.

   36. All documents evidencing ownership or occupancy rights to the Premises in Question for
       the time of the Incident in Question.

   37. A copy of any legal documents that document Defendant's status as a corporation,
       partnership, sole proprietorship or joint venture.
Ackers vs. Prospect Airport Services, Inc.
ROGS, and RFPs to Defendant
Page 15 of 16

                                             EXHIBIT 1
        Case 1:21-cv-00008-LY Document 1-2 Filed 01/05/21 Page 24 of 24




   38. Any joint venture agreement between the parties or between any party to this suit and any
       non-party regarding the ownership, operation, repair, maintenance, cleaning or other
       service of or for the Premises in Question.

   39. Any rules, management guidelines, operating guidelines, or other similar writing or
       document that purports to show operating procedures for the management, care,
       maintenance, inspection, repair, cleaning and service of the Premises in Question that were
       in existence at the time of the Incident in Question.

   40. Any rules, management guidelines, operating guidelines, or other similar writing or
       document that purports to show operating procedures for the management, care,
       maintenance, inspection, repair, cleaning and service of the Premises in Question that are
       in existence currently.

   41. Any and all photographs that Defendant has of any equipment, item, or movable property
       that was at the scene of the incident in question, but has since been relocated.

   42. All of your materials including, but not limited to, employee manuals, memoranda, and
       correspondence pertaining to safety rules and/or regulations to be followed by the
       employees to ensure the safety of others that were in effect at the time of the Incident in
       Question. This includes, but is not limited to, any training films and/or videotapes used by
       Defendant concerning previous incidents or the Incident in Question.

   43. All of your materials including, but not limited to, employee manuals, memoranda, and
       correspondence pertaining to safety rules and/or regulations to be followed by the
       employees to ensure the safety of others that are in effect currently. This includes, but is
       not limited to, any training films and/or videotapes used by Defendant concerning previous
       incidents or the Incident in Question.

   44. Personnel files or any other documents reflecting the name, address, and/or phone number
       of all Defendant's employees, independent contractors, agents, or representatives working
       on the Premises in Question on the date of the Incident in Question.

   45. Any documents or plans indicating subsequent remedial measures anticipated or
       undertaken at the Premises since the Incident in Question.

   46. All documents, reports, videotapes, photographs, or statements regarding any other
       Incident involving injury to another on the Premises in Question from five (5) years before
       the Incident in Question to present.




Ackers vs. Prospect Airport Services, Inc.
ROGS, and RFPs to Defendant
Page 16 of 16

                                             EXHIBIT 1
